 

 

Case 2:15-cv-03879-JMA-ARL Document 50-5 Filed 11/14/19 Page 1 of 13 PagelD #: 195

EXHIBIT “D”
 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

25

 

UNITED STATES DISTRICT COURT
_ EASTERN DISTRICT OF NEW YORK

 

 

 

~——

 

 

meme ee et ie toe mh ere mefeedia Gree mre eee meee amma ee x
EDWARD REICHERTER,
Plaintiff,
Civ. Case No.
~against- 15-CV-03878
. TOWN OF HEMPSTEAD,
Defendant.
a Si ie Ra is ae eS i in i Sk. Rw i i a nas ia ni as aa Si oni im i
October 17, 2018
10:00 a.m.

DEPOSITION of ANTHONY J. SANTINO, a
Non-Party Witness, taken pursuant to Subpoena, held
at the law offices of Jonathan A. Tand & Associates,
1025 Old Country Road, Suite 314, Westbury, New

York, before Ellen Rubin, a Certified Shorthand

Reporter and Notary Public within and for the State

of New York.

SANDY SAUNDERS REPORTING
254 South Main Street, Suite 216
New City, New York 10956
(845) 634-7561

 

 
 

10

11

12

13

14

15

16 |

17

18

19

20

21

22

23

24

25

 

 

 

A. Santino

Elections.
Q. Okay. Did there come a point in
time where you worked for the Town of Hempstead?
A. Yes.
Q. What was your last job at the Town

of Hempstead?

A. I was the supervisor of the Town of
Hempstead.

Q. That's an elected position,

- correct?

A. That's correct.

Q. How many terms did you hold as
supervisor?

A. One.

Q. Prior to holding that position, did

you hold any other positions with the Town of
Hempstead?
A. I was a councilman, an elected

councilman with the Town of Hempstead.

Q. How many terms did you hold as a
councilman?

A. Well, four-year terms beginning in
1993, so one, two, three, four, five, six -- I

guess seven.

 

 
 

 

10

11 |

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

A. Santino

A. No, I was not.

Q. Do you hold any degrees, like

| college degrees, master's degrees or law

| degrees?

A. I have a bachelor's degree from

St. John's University.

Q. What is that degree in?
A. History with a minor in government.
It's a BA.

MR. TAND: Off the record.

(Discussion is held off the

record. )
Q. Are you a member of any Republican
clubs?
A. I'm a member of the East Rockaway

Republican Club.

Q. Do you hold any titles with that
club?

A. I'm the -- well -- yeah, I am the
executive committeeman -- the executive
leader -- it's an interchangeable title -- of

the East Rockaway Republican Committee.
Q. How long have you been the

executive --

 

 

 

 
 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

10

 

 

A. Santino
A. Since 1990.

Q. How many people are in the East

Rockaway Republican Club or Committee?

A. Committee? There are 11 election

districts and two per += two committee persons

per election district. So a full complement is

22.

Q. Do you hold any positions with the

| Nassau County Republican Party?

MR. MACY: Just repeat the
question.

MR. TAND: Does he hold any
positions with the Nassau County
Republican Party?

A. I am -- being the executive leader
of the East Rockaway Republican Committee makes

me a member of the Nassau County Republican

Executive Committee. They are -- they go hand
in glove.
Q. How does that work? Like, what's
_ the relationship between -- can you kind of

explain it a little bit more?
A. The Nassau County Republican

Committee has a number of -- divides the county

 

 

 
 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

 

A. Santino

A. I have no idea.

Q. Robert Gaffney?

A. Robert Gaffney?

Q. Yes.

A. No.

Q. Okay. Now, when you were the

supervisor of the Town of Hempstead, did you

have the ability to hire and fire people?

A. When I was the supervisor -- I had
the ability -- the Town board hires and fires
people. I could make recommendations to the
Town board, just as Town board members could

make recommendations. But it's done -- I only

_ had one vote out of seven. So I had no

unilateral authority to hire or fire anybody.

Q. Let me ask you a question that you

| are actually uniquely able to answer and it kind
of comes yp a lot. What are the exact powers of

| the Town supervisor?

A. The Town supervisor is the
day-to-day manager of Town affairs. But the
Town supervisor is a member of a seven-member
Town board and has one vote equal to the voice

of all of the other members -- all the other

 

 
 

10
11.

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

 

A. Santino

Town councilpeople.

Q. So is it fair to say that the Town
supervisor cannot override the will of the
board?

A. That's correct. There is no veto
power or anything like that involved.
Everything functions essentially as a -- by
majority vote -- meaning seven people, you need
four to make a majority.

Q. And as to the majority, the Town
supervisor can't just unilaterally impose his

will on the Town, correct?

A. That's correct.

Q. Do you know my client, Edward
Reicherter?

A. Yeah, I do.

Q. How long have you known

Mr. Reicherter?

A. Probably 25 or so years, maybe a
little longer.

Q. How would you describe your
relationship with Mr. Reicherter?

A. Casual, community-oriented. Not --

not personal friends or -- or anything like

 

 

 
 

10

11

12

13

14

15

16

17

18

19

20

21

22,
23,
24

25

19

 

 

 

A. Santino

community.

Q. Do you know what other things he
got involved in?

A. I remember him, at one point,
saying that he was coaching a football team --
whether it was a high school team, I don't
remember the details of that -- that was

requiring his presence at practices at the same

. time that the committee met. So that kind of

thing. I believe he became very active in the
fire department. So -- but it was really

because we met on Saturday mornings, meaning the

| committee met on Saturday mornings, and I

_ remember clearly a conversation where he said to

me that because he was coaching some kind of
team, he was not available for a while.

Q. Do you know if Mr. Reicherter held
any positions with the Town of Hempstead?

A. He's an employee there. I couldn't
tell you exactly, you know, what -- what
positions he had.

Q. Do you know what department he
works in?

A. Parks Department. That I know.

 

 

 
 

 

1 | A. Santino

2 A. Yes.

3 Q. When did he pass away?

4 A. I don't remember exactly.

5 Q. Would it have been in the last five

6 | years?

~
>

Longer, I believe.
8 Q. If I were to say 2010, would that

9 | refresh your recollection?

10 | A. Could be right.
11 | Q. Okay. And who is Fran Lenahan?
12 | A. Fran Lenahan was a village trustee

13 | in East Rockaway and subsequently was elected
14 mayor.

i5 |} Q. Okay. When Mr. Sieban passed away,
16 was he currently the mayor -- was he the mayor

17 of East Rockaway?

 

18 A. At the time he passed away?

19 Q. Yes.

20 A. Yes, he was.

21 Q. Was there an election to replace
22 him?

23 | A. Yes.

24 Q. Did you support any candidate in

25 that election?

 

 

 
 

 

10

il

L2

13

14

15

16

17

18

19

20

21

22

23

24

25

30

 

 

A. Santino
A Yes.
Q. Who did you support?
A Mr. Lenahan.

Q. And as such, did you campaign for

Mr. Lenahan?

A. I didn't actively campaign, no. I

supported him, but I didn't actively campaign

for him.

Q. Did you try to help him get
endorsements from local figures?

A. I -- I mean, I don't fully
understand that question. But I mean, I -- I
supported him. I did not actively campaign for

him, you know. Did I -- did I recommend him,

his candidacy, to people? The answer to that

would be yes.

Q. Do you know who the fire chief was
at that time?

A. Absolutely not.

Q. Do you know if Ed Reicherter was
the fire chief at that time?

A, He was a fire chief. If it was at

that time, I don't know.

Q. Is the fire chief an elected

 

 

 
 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

 

A. Santino

official conversation first.
MR. MACY: As part of the
Republican Committee. Okay.

A. I still don't understand the

| question. You're going to have to clarify that.

That's too broad.
Q. When Mr. Reicherter -- let me try
to clarify a little bit more.
As you said, there was a point in

time where Mr. Reicherter was the fire chief,

| correct?

A. He was the fire chief at some

_ point, yes.

Q. Yes. That's what I'm asking.
A. Right.
Q. And while he was the fire chief,

there was probably some elections within the
Town of East Rockaway, right?

MR. MACY: If you know.

Q. If you know?

A. Undoubtedly, but -- yes, okay.
Undoubtedly.

Q. Did you ever ask him, as fire

chief, to support any specific candidates?

 

 
 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

 

A. Santino

MR. MACY: Again, candidates for
the fire department or political
candidates?

MR. TAND: Political candidates.

A. tT don't recall a one-on-one

conversation with him about anything like that.

I do -- I mean, would I have? Do I recall
having a meeting of the East Rockaway Republican
Committee at which he may or may not have been
present in which the subject of who to support
in certain elections came up, and a vote was

taken? I remember that. He may have been

_ there, but I don't remember.

Q. Who is Stan Lombardo?

A. He is someone who was a -- he was a
member of the East Rockaway Republican
Committee. And he was also, at some point, a
village trustee.

Q. Okay. How long have you known
Mr. Lombardo for?

A. I can't quantify it. Maybe 15
years. Maybe somewhere in that general range.

Q. Was Mr. Lombardo in the Republican

Club at the same time as Mr. Reicherter?

 

 
10

11.

12

13

14

15

16

17

18

19

20

22

22

23

24

25

 

 

 

A. Santino

A. No.

MR. TAND: I have no further

questions at this time.

MR. MACY: Thanks, Jonathan. I

appreciate it.

(Time Noted:

10:47 a.m.)

 

Subscribed and sworn to

: ye.
before me this 19 day

 

 

 

Notary Public

 

 

ANTHONY J. SANTINO

 

 
